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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                     CASE NUMBER: 15-22626-CIV-LENARD/GOODMAN

     ZUMA SEGUROS, C.A.,
         Plaintiff,
     vs.

     WORLD JET DELAWARE, INC.,
     a Delaware Corporation, et al.
            Defendant.
     ___________________________________/


                         NOTICE OF WITHDRAWAL OF COUNSEL

            PLEASE TAKE NOTICE that Gerardo A, Vazquez hereby withdraws as counsel

     for Plaintiffs ZUMA SEGUROS, C.A. Mr. Vazquez no longer represents the Plaintiffs.

     Plaintiff will continue to be represented in this action by Steven Herzberg.



                                                          Respectfully submitted,

                                                          VAZQUEZ & ASSOCIATES

                                                          By: /s/ Steven B. Herzberg
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                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing has been served through the Court’s

     CM/ECF system, and by electronic mail, on this 11th day of October 2017 to Bruce

     David Green, Esq., Bruce David Green, P.A., 1313 South Andrews Avenue, Ft.

     Lauderdale, FL 33316 (bgreen@bdgreenpa.com).



                                                    By: /s/ Steven B. Herzberg
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